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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

 UNITED STATES OF AMERICA                )
                                         )
       v.                                ) CASE NO. 2:13-CR-159-WKW
                                         )             [WO]
 DAVID GADSDEN                           )

                                    ORDER

      Defendant has filed a motion for compassionate release in which he seeks to

modify an imposed term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).

(Doc. # 224.) Defendant was convicted of one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 1349. (Doc. # 156, at 1.) As a result of his

conviction, Defendant was sentenced to a term of 120 months’ imprisonment. (Doc.

# 156, at 2.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for substantially the same reasons set out in the Government’s response. (Doc. #

234.) Accordingly, it is ORDERED that Defendant’s motion for compassionate

release (Doc. # 224) is DENIED.

      DONE this 23rd day of September, 2020.

                                          /s/ W. Keith Watkins
                                     UNITED STATES DISTRICT JUDGE
